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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANN V. SHEEHAN,                 :
                      Plaintiff :               No. 1:22-CV-1871
                                :
            v.                  :               Judge Wilson
                                :
SHIPPENSBURG UNIVERSITY,        :               Electronically Filed Document
LAURIE PORTER and NIPA          :
BROWDER,                        :               Complaint Filed 11/25/2022
                   Defendants :

       DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
      Defendants Shippensburg University, Laurie Porter and Nipa Browder, by

and through their undersigned counsel, hereby submit the following Answer and

Affirmative Defenses to the Complaint in this action.

      1.    ADMITTED.

      2.    ADMITTED.

      3.    DENIED.

      11.   DENIED.

      12.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 12 of the Complaint.

      13.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 13 of the Complaint.
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      14.   ADMITTED.

      15.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 15 of the Complaint.

      16.   DENIED.

      17.   Defendants ADMIT that Plaintiff received annual performance

reviews, which speak for themselves, and otherwise DENY the allegations in

paragraph 17 of the Complaint.

      18.    Defendants ADMIT that Plaintiff received annual performance

reviews, which speak for themselves, and otherwise DENY the allegations in

paragraph 18 of the Complaint.

      19.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 19 of the Complaint.

      20.   DENIED.

      21.   DENIED.

      22.   DENIED.

      23.   DENIED.

      24.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 24 of the Complaint.



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      25.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 25 of the Complaint.

      26.   The allegations in paragraph 26 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      27.   DENIED.

      28.   DENIED.

      29.   Defendants ADMIT that a document purportedly faxed by a physician

was received by Browder on or around January 13, 2022, which document speaks

for itself, and otherwise DENY the allegations in paragraph 29 of the Complaint.

      30.   DENIED.

      31.   DENIED.

      32.   DENIED.

      33.    Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 33 of the Complaint.

      34.   Defendants ADMIT that Porter sent Plaintiff a letter dated February

15, 2022 that stated, among other things, that Plaintiff’s employment as a Clerk

Typest 2 with Shippensburg University is being terminated, which document



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speaks for itself, and otherwise DENY the allegations in paragraph 34 of the

Complaint.

      35.    DENIED.

      36.    The allegations in paragraph 36 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      37.    The allegations in paragraph 37 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      38.    The proceeding paragraphs are incorporated by reference.

      39.    The allegations in paragraph 39 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      40.    Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 40 of the Complaint.

      41.    The allegations in paragraph 41 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.




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      42.   The allegations in paragraph 42 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      43.   DENIED.

      44.   The allegations in paragraph 44 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      45.   The allegations in paragraph 45 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      46.   The proceeding paragraphs are incorporated by reference.

      47.   The allegations in paragraph 47 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      48.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 48 of the Complaint.

      49.   The allegations in paragraph 49 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.


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      50.   The allegations in paragraph 50 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      51.   The allegations in paragraph 51 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      52.   DENIED.

      53.   The allegations in paragraph 53 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      54.   The allegations in paragraph 54 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      55.   The proceeding paragraphs are incorporated by reference.

      56.   The allegations in paragraph 56 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      57.   Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 57 of the Complaint.


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      58.   The allegations in paragraph 58 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      59.   The allegations in paragraph 59 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      60.   The allegations in paragraph 60 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      61.   DENIED.

      62.   The allegations in paragraph 62 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      63.   The allegations in paragraph 63 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      64.   DENIED.




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      65.   The allegations in paragraph 65 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      66.   The allegations in paragraph 66 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      67.   The proceeding paragraphs are incorporated by reference.

      68.   The allegations in paragraph 68 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      69.   The allegations in paragraph 69 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      70.   The allegations in paragraph 70 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      71.   The allegations in paragraph 71 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.


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      72.   The allegations in paragraph 72 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      73.   The allegations in paragraph 73 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      74.   The allegations in paragraph 74 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      75.   The allegations in paragraph 75 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      76.   DENIED.

      77.   The allegations in paragraph 77 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      78.   The allegations in paragraph 78 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.


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      79.    The allegations in paragraph 79 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

      80.    The allegations in paragraph 80 of the Complaint purport to state a

legal conclusion to which no response is required and, to the extent a response is

required, the allegations are DENIED.

                          AFFIRMATIVE DEFENSES

      In addition to the responses set forth above, Defendants asserts the following

Affirmative Defenses:

                        FIRST AFFIRMATIVE DEFENSE

      Some or all of Plaintiff’s claims may be barred by the doctrine of collateral

estoppel and/or res judicata.

                     SECOND AFFIRMATIVE DEFENSE

      Some or all of Plaintiff’s claims may be barred by the statute of limitations

and/or the doctrine of laches.

                        THIRD AFFIRMATIVE DEFENSE

      The Complaint fails to state a claim upon which relief may be granted.

                     FOURTH AFFIRMATIVE DEFENSE

      At no time have Defendants, either individually or in concert with others,

deprived or sought to deprive Plaintiff of any rights, privileges or immunities

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secured to him by the Constitution or laws of the Commonwealth or the United

States of America.

                       FIFTH AFFIRMATIVE DEFENSE

       At all relevant times, Defendants acted with a reasonable, good-faith belief

in the lawfulness of their actions and are entitled to immunity from damages

therefor.

                       SIXTH AFFIRMATIVE DEFENSE

       Any harm occurring to Plaintiff was the proximate result of actions or

inactions of persons other than Defendants.

                     SEVENTH AFFIRMATIVE DEFENSE

       If the incidents occurred as alleged, which is strictly denied, the condition(s)

complained of did not create a reasonably foreseeable risk proximate to the

injuries.

                      EIGHTH AFFIRMATIVE DEFENSE

       All actions taken by Defendants were proper, lawful, correct and in full

accord with all applicable statutes, regulations, customs, laws and usages.

                       NINTH AFFIRMATIVE DEFENSE

       Defendants are immune from liability to the Plaintiff for any of the claims

asserted.




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                      TENTH AFFIRMATIVE DEFENSE

      Any act of Defendants was discretionary and performed in good faith.

                   ELEVENTH AFFIRMATIVE DEFENSE

      If Defendants violated any rights of the Plaintiff, which is specifically

denied, such violation was not arbitrary, willful, intentional, malicious, wanton or

reckless.

                    TWELFTH AFFIRMATIVE DEFENSE

      Any action taken by Defendants was justified, privileged and reasonable.

                  THIRTEENTH AFFIRMATIVE DEFENSE

      Any action taken by Defendants was of the type for which they would have

had defenses available at common law.

                 FOURTEENTH AFFIRMATIVE DEFENSE

      The Complaint makes claims for damages, some or all of which are not or

may not be legally cognizable or compensable under the laws of the

Commonwealth of Pennsylvania.

                   FIFTEENTH AFFIRMATIVE DEFENSE

      If Plaintiff suffered the damages and losses as described in the Complaint,

which is specifically denied, they were or may have been caused or contributed to

by conditions, factors, persons and/or entities over which Defendants had no

control and for which Defendants are not responsible.



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                      SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs cannot demonstrate a legally culpable act and/or omission of

Defendants which was a substantial factor in bringing about the claimed damages.

                     SEVENTEENTH AFFIRMATIVE DEFENSE

       Defendants assert the doctrine of justification with respect to any conduct

material to Plaintiff’s claims.

                     EIGHTEENTH AFFIRMATIVE DEFENSE

       Defendants are entitled to the defense of sovereign immunity, which renders

actions taken within the scope of employment immune from damage liability.

                     NINETEENTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff’s claims are based upon a theory of vicarious liability,

it is unavailable.

                      TWENTIETH AFFIRMATIVE DEFENSE

       All or some of Plaintiff’s claims may be barred by waiver, estoppel, and/or

the doctrine of unclean hands.

                     TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiff cannot state a prima facie case for discrimination or retaliation, and

even if she could, Defendant had legitimate non-discriminatory reasons for the

actions taken and such reasons are not pretext.




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                TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiff is not entitled to a jury trial on some or all of her claims.

                 TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiff failed to exhaust her administrative remedies as to some or all of

her claims.

                TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiff failed to mitigate damages as to some or all of her claims.

                  TWENTY-FIFTH AFFIRMATIVE DEFENSE

       The averments in Plaintiff’s Complaint are insufficient to establish the

named Defendants’ personal involvement in some or all of the claims.

                  TWENTY-SIXTH AFFIRMATIVE DEFENSE

       As a matter of law, Defendants have taken no adverse actions against

Plaintiff.

               TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       This Court may not have jurisdiction over some or all of Plaintiff’s claims.

If Defendants took the actions alleged in the Complaint, which it specifically

denies, Defendants did not violate Plaintiff’s constitutional rights and all of

Defendant’s actions were taken in a reasonable manner in light of the legal rules

that were clearly established at the time they took the alleged actions and, thus, are

entitled to qualified immunity.



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                  TWENTY-EIGHTH AFFIRMATIVE DEFENSE

         Some or all of Plaintiff’s claims are untimely pursuant to the applicable rules

of civil procedure and/or law.

                   TWENTY-NINTH AFFIRMATIVE DEFENSE

         Some or all of Plaintiff’s claims may be barred by the Eleventh Amendment.

                      THIRTIETH AFFIRMATIVE DEFENSE

         Plaintiff has not sufficiently pleaded, nor can she prove, any whistleblower

claim.

                    THIRTY-FIRST AFFIRMATIVE DEFENSE

         The allegations set forth in Plaintiff’s complaint exceed the scope of the

complaint made at the administrative level such as to the EEOC and PHRC.




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                                          Respectfully submitted,

                                          MICHELLE A. HENRY
                                          Acting Attorney General


                                  By:     s/ Alexander T. Korn
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akorn@attorneygeneral.gov                Civil Litigation Section

Date: January 30, 2023                   Counsel for Defendants




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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANN V. SHEEHAN,                 :
                      Plaintiff :               No. 1:22-CV-1871
                                :
            v.                  :               Judge Wilson
                                :
SHIPPENSBURG UNIVERSITY,        :               Electronically Filed Document
LAURIE PORTER and NIPA          :
BROWDER,                        :               Complaint Filed 11/25/2022
                   Defendants :

                         CERTIFICATE OF SERVICE
      I, Alexander T. Korn, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on January 30, 2023,

I caused to be served a true and correct copy of the foregoing document titled

Defendants’ Answer and Affirmative Defenses to the following:

VIA ELECTRONIC FILING

Jason E. Piatt, Esquire
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Counsel for Plaintiff


                                       s/ Alexander T. Korn
                                      ALEXANDER T. KORN
                                      Deputy Attorney General
